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                                           SELECTQUOTE INSURANCE SERVICES
                                       8

                                       9                               IN THE UNITED STATES DISTRICT COURT

                                      10                                NORTHERN DISTRICT OF CALIFORNIA
THREE EMBARCADERO CENTER, 7TH FLOOR




                                      11                                     SAN FRANCISCO DIVISION
  BRYAN CAVE LEIGHTON PAISNER LLP

   SAN FRANCISCO, CA 94111-4070




                                      12

                                      13   DEBORAH SCHICK, individually and on                  Case No. 3:19-cv-04902-LB
                                           behalf of all others similarly situated,
                                      14                                                        ANSWER TO FIRST AMENDED
                                                          Plaintiff,                            COMPLAINT
                                      15
                                                    v.
                                      16
                                           SELECTQUOTE INSURANCE SERVICES,
                                      17   YASHA MARKETING LLC, and DATALOT,
                                           INC.,
                                      18
                                                          Defendants.
                                      19

                                      20

                                      21
                                                          Defendant SelectQuote Insurance Services (“SelectQuote”) by and through its
                                      22
                                           attorney, Bryan Cave Leighton Paisner LLP, hereby submits its answer and affirmative defenses to
                                      23
                                           the First Amended Complaint (“Complaint”) filed by Plaintiff in the above-captioned action.
                                      24
                                                          In responding to the Complaint, Defendant denies all allegations contained therein
                                      25
                                           unless specifically admitted below. Paragraph numbers in this document correspond to Paragraph
                                      26
                                           numbers of the Complaint and respond to all allegations of the corresponding Complaint
                                      27
                                           Paragraphs. Within each Paragraph, if an allegation is not expressly admitted, it is denied.
                                      28
                                                                                            1
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                                       1                                   I.        NATURE OF THE ACTION
                                       2       1. Defendant denies the allegations in Paragraph 1 of the Complaint.
                                       3       2. Defendant denies the allegations in Paragraph 2 of the Complaint.
                                       4       3. Defendant denies the allegations in Paragraph 3 of the Complaint.
                                       5       4. Defendant is without sufficient knowledge to admit or deny the allegations of Paragraph 4
                                       6            and denies them on that basis.
                                       7                                              II.    PARTIES
                                       8       5. Defendant is without knowledge as to the allegations in Paragraph 5 of the Complaint and
                                       9            therefore denies the same.
                                      10       6. Defendant is without sufficient knowledge to admit or deny the allegations of Paragraph 6
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                                      11            of the Complaint and denies them on that basis.
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                                      12       7. Defendant admits that it is a corporation.
                                      13       8. Defendant admits that it is a corporation organized under the laws of California.
                                      14       9. Defendant admits that it maintains an office in San Francisco, California, but denies that its
                                      15            principal place of business is in San Francisco.
                                      16       10. Defendant admits that it does business throughout the United States.
                                      17       11. Defendant is without knowledge as to the allegations in Paragraph 11 of the Complaint and
                                      18            therefore denies the same.
                                      19       12. Defendant is without knowledge as to the allegations in Paragraph 12 of the Complaint and
                                      20            therefore denies the same.
                                      21       13. Defendant is without knowledge as to the allegations in Paragraph 13 of the Complaint and
                                      22            therefore denies the same.
                                      23       14. Defendant is without knowledge as to the allegations in Paragraph 14 of the Complaint and
                                      24            therefore denies the same.
                                      25       15. Defendant is without knowledge as to the allegations in Paragraph 15 of the Complaint and
                                      26            therefore denies the same.
                                      27       16. Defendant is without knowledge as to the allegations in Paragraph 16 of the Complaint and
                                      28            therefore denies the same.
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                                       1       17. Defendant is without knowledge as to the allegations in Paragraph 17 of the Complaint and
                                       2            therefore denies the same.
                                       3       18. Defendant is without knowledge as to the allegations in Paragraph 18 of the Complaint and
                                       4            therefore denies the same.
                                       5       19. Defendant is without knowledge as to the allegations in Paragraph 19 of the Complaint and
                                       6            therefore denies the same.
                                       7                                 III.    JURISDICTION AND VENUE
                                       8       20. Defendant admits that this Court has subject matter jurisdiction over Plaintiff’s TCPA
                                       9            claims because they present a federal question.
                                      10       21. Defendant denies that its principal place of business is in California. Defendant denies that
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                                      11            any of the conduct alleged in the Complaint was organized from its California
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                                      12            headquarters. Defendant denies that it committed any statutory or regulatory violation.
                                      13       22. Defendant admits that venue is proper in this District insofar as Defendant transacts
                                      14            business in the District. Defendant denies that it committed any statutory or regulatory
                                      15            violation or any of the conduct complained of in the Complaint.
                                      16       23. Defendant denies its principal place of business is in San Francisco. Defendant denies that
                                      17            it committed any statutory or regulatory violation or any of the conduct complained of in
                                      18            the complaint.
                                      19                                              IV.     FACTS
                                      20       24. The allegation in Paragraph 24 contains a legal conclusion to which no response is
                                      21            required. To the extent Paragraph 24 contains assertions of fact, Defendant lacks sufficient
                                      22            knowledge and denies the allegations on that basis.
                                      23       25. The allegation in Paragraph 25 contains a legal conclusion to which no response is
                                      24            required. To the extent Paragraph 25 contains assertions of fact, Defendant lacks sufficient
                                      25            knowledge and denies the allegations on that basis.
                                      26       26. To the extent Paragraph 26 contains assertions of fact, Defendant lacks sufficient
                                      27            knowledge and denies the allegations on that basis.
                                      28
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                                       1       27. The allegation in Paragraph 27 contains a legal conclusion to which no response is
                                       2            required. To the extent Paragraph 27 contains assertions of fact, Defendant lacks sufficient
                                       3            knowledge and denies the allegations on that basis.
                                       4       28. The allegation in Paragraph 28 contains a legal conclusion to which no response is
                                       5            required. To the extent Paragraph 28 contains assertions of fact, Defendant lacks sufficient
                                       6            knowledge and denies the allegations on that basis.
                                       7       29. To the extent Paragraph 29 contains assertions of fact, Defendant lacks sufficient
                                       8            knowledge and denies the allegations on that basis.
                                       9       30. To the extent Paragraph 30 contains assertions of fact, Defendant lacks sufficient
                                      10            knowledge and denies the allegations on that basis.
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                                      11       31. To the extent Paragraph 31 contains assertions of fact, Defendant lacks sufficient
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                                      12            knowledge and denies the allegations on that basis.
                                      13       32. To the extent Paragraph 32 contains assertions of fact, Defendant lacks sufficient
                                      14            knowledge and denies the allegations on that basis.
                                      15       33. To the extent Paragraph 33 contains assertions of fact, Defendant lacks sufficient
                                      16            knowledge and denies the allegations on that basis.
                                      17       34. To the extent Paragraph 34 contains assertions of fact, Defendant lacks sufficient
                                      18            knowledge and denies the allegations on that basis.
                                      19       35. To the extent Paragraph 35 contains assertions of fact, Defendant lacks sufficient
                                      20            knowledge and denies the allegations on that basis.
                                      21       36. To the extent Paragraph 36 contains assertions of fact, Defendant lacks sufficient
                                      22            knowledge and denies the allegations on that basis.
                                      23       37. To the extent Paragraph 37 contains assertions of fact, Defendant lacks sufficient
                                      24            knowledge and denies the allegations on that basis.
                                      25       38. To the extent Paragraph 38 contains assertions of fact, Defendant lacks sufficient
                                      26            knowledge and denies the allegations on that basis.
                                      27       39. To the extent Paragraph 39 contains assertions of fact, Defendant lacks sufficient
                                      28            knowledge and denies the allegations on that basis.
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                                       1       40. Defendant is without knowledge as to the allegations in Paragraph 40 of the Complaint and
                                       2            therefore denies the same.
                                       3       41. Defendant is without knowledge as to the allegations in Paragraph 41 of the Complaint and
                                       4            therefore denies the same.
                                       5       42. Defendant is without knowledge as to the allegations in Paragraph 42 of the Complaint and
                                       6            therefore denies the same.
                                       7       43. Defendant is without knowledge as to the allegations in Paragraph 43 of the Complaint and
                                       8            therefore denies the same.
                                       9       44. Defendant is without knowledge as to the allegations in Paragraph 44 of the Complaint and
                                      10            therefore denies the same.
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                                      11       45. Defendant is without knowledge as to the allegations in Paragraph 45 of the Complaint and
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                                      12            therefore denies the same.
                                      13       46. Defendant is without knowledge as to the allegations in Paragraph 46 of the Complaint and
                                      14            therefore denies the same.
                                      15       47. Defendant is without knowledge as to the allegations in Paragraph 47 of the Complaint and
                                      16            therefore denies the same.
                                      17       48. Defendant is without knowledge as to the allegations in Paragraph 48 of the Complaint and
                                      18            therefore denies the same.
                                      19       49. Defendant is without knowledge as to the allegations in Paragraph 49 of the Complaint and
                                      20            therefore denies the same.
                                      21       50. Defendant admits the allegations in Paragraph 50.
                                      22       51. Defendant denies that it relies upon telemarketing to sell insurance.
                                      23       52. Defendant is without knowledge as to the allegations in Paragraph 52 of the Complaint and
                                      24            therefore denies the same.
                                      25       53. Defendant is without knowledge as to the allegations in Paragraph 53 of the Complaint and
                                      26            therefore denies the same.
                                      27       54. Defendant is without knowledge as to the allegations in Paragraph 54 of the Complaint and
                                      28            therefore denies the same.
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                                       1       55. Defendant is without knowledge as to the allegations in Paragraph 55 of the Complaint and
                                       2            therefore denies the same.
                                       3       56. Defendant is without knowledge as to the allegations in Paragraph 56 of the Complaint and
                                       4            therefore denies the same.
                                       5       57. Defendant is without knowledge as to the allegations in Paragraph 57 of the Complaint and
                                       6            therefore denies the same.
                                       7       58. Defendant admits that it has been sued under the TCPA in the District of Minnesota, but
                                       8            denies that that lawsuit has any merit.
                                       9       59. The allegation in Paragraph 59 contains a legal conclusion to which no response is
                                      10            required. To the extent a response is required, Defendant admits that it in some instances
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                                      11            uses equipment that may meet the definition of an automated telephone dialing system, but
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                                      12            denies that it called the Plaintiff or used any ATDS to call the Plaintiff.
                                      13       60. Defendant admits that it in some instances uses equipment that may meet the definition of
                                      14            an automated telephone dialing system, but denies that it called the Plaintiff or used any
                                      15            ATDS to call the Plaintiff.
                                      16       61. Defendant denies that it knowingly calls numbers assigned to cellular telephones without
                                      17            consent.
                                      18       62. Defendant denies the allegations in Paragraph 62.
                                      19       63. The allegations in Paragraph 63 are insufficiently precise to be capable of a reasoned
                                      20            response. To the extent a response is required, Defendant denies the allegations in
                                      21            Paragraph 63.
                                      22       64. The allegations in Paragraph 64 are insufficiently precise to be capable of a reasoned
                                      23            response. To the extent a response is required, Defendant denies the allegations in
                                      24            Paragraph 64.
                                      25       65. The allegations in Paragraph 65 are insufficiently precise to be capable of a reasoned
                                      26            response. To the extent a response is required, Defendant denies the allegations in
                                      27            Paragraph 65.
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                                       1       66. The allegations in Paragraph 66 are insufficiently precise to be capable of a reasoned
                                       2            response. To the extent a response is required, Defendant denies the allegations in
                                       3            Paragraph 66.
                                       4       67. Defendant denies that it violates the TCPA.
                                       5       68. Defendant denies the allegations in Paragraph 68.
                                       6       69. Defendant is without knowledge as to the allegations in Paragraph 69 of the Complaint and
                                       7            therefore denies the same.
                                       8       70. Defendant is without knowledge as to the allegations in Paragraph 70 of the Complaint and
                                       9            therefore denies the same.
                                      10       71. Defendant is without knowledge as to the allegations in Paragraph 71 of the Complaint and
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                                      11            therefore denies the same.
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                                      12       72. Defendant is without knowledge as to the allegations in Paragraph 72 of the Complaint and
                                      13            therefore denies the same.
                                      14       73. Defendant is without knowledge as to the allegations in Paragraph 73 of the Complaint and
                                      15            therefore denies the same.
                                      16       74. Defendant denies the allegations in Paragraph 74.
                                      17       75. Defendant denies the allegations in Paragraph 75.
                                      18       76. Defendant is without knowledge as to the allegations in Paragraph 76 and therefore denies
                                      19            the same.
                                      20       77. Defendant denies the allegations in Paragraph 77.
                                      21       78. Defendant denies the allegations in Paragraph 78.
                                      22       79. Defendant denies the allegations in Paragraph 79.
                                      23       80. Defendant admits that a phone call was made to Plaintiff on May 29, 2019, and that after a
                                      24            pause the Plaintiff said “Hello,” but otherwise denies the allegations in Paragraph 80.
                                      25       81. Defendant denies the allegations in Paragraph 81.
                                      26       82. Defendant denies the allegations in Paragraph 82.
                                      27       83. Defendant denies the allegations in Paragraph 83.
                                      28
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                                       1       84. Defendant is without knowledge as to the allegations in Paragraph 84 of the Complaint and
                                       2            therefore denies the same.
                                       3       85. The allegations of Paragraph 85 are insufficiently precise to be capable of a reasoned
                                       4            response and Defendant denies them on that basis.
                                       5       86. The allegations of Paragraph 86 are insufficiently precise to be capable of a reasoned
                                       6            response and Defendant denies them on that basis.
                                       7       87. Defendant admits that one of its employees sent an e-mail to Plaintiff on May 29, 2019.
                                       8       88. Defendant admits the allegations in Paragraph 88.
                                       9       89. Defendant admits the allegations in Paragraph 89.
                                      10       90. Defendant lacks sufficient information to admit or deny the allegations of Paragraph 90
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                                      11            and denies on that basis.
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                                      12       91. Defendant is without knowledge as to the allegations in Paragraph 91 of the Complaint and
                                      13            therefore denies the same.
                                      14       92. Defendant is without knowledge as to the allegations in Paragraph 92 of the Complaint and
                                      15            therefore denies the same.
                                      16       93. Defendant denies the allegations in Paragraph 93.
                                      17       94. Defendant denies the allegations in Paragraph 94.
                                      18       95. The allegation in Paragraph 95 contains a legal conclusion to which no response is
                                      19            required. To the extent Paragraph 95 contains assertions of fact, Defendant lacks sufficient
                                      20            knowledge and denies the allegations on that basis.
                                      21       96. The allegation in Paragraph 96 contains a legal conclusion to which no response is
                                      22            required. To the extent Paragraph 96 contains assertions of fact, Defendant lacks sufficient
                                      23            knowledge and denies the allegations on that basis.
                                      24       97. The allegation in Paragraph 97 contains a legal conclusion to which no response is
                                      25            required. To the extent Paragraph 97 contains assertions of fact, Defendant lacks sufficient
                                      26            knowledge and denies the allegations on that basis.
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                                       1       98. The allegation in Paragraph 98 contains a legal conclusion to which no response is
                                       2            required. To the extent Paragraph 98 contains assertions of fact, Defendant lacks sufficient
                                       3            knowledge and denies the allegations on that basis.
                                       4       99. The allegation in Paragraph 99 contains a legal conclusion to which no response is
                                       5            required. To the extent Paragraph 99 contains assertions of fact, Defendant denies the
                                       6            allegations in this Paragraph.
                                       7       100.        The allegation in Paragraph 100 contains a legal conclusion to which no response is
                                       8            required. To the extent Paragraph 100 contains assertions of fact, Defendant lacks
                                       9            sufficient knowledge and denies the allegations on that basis.
                                      10       101.        Defendant denies the allegations in Paragraph 101.
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                                      11       102.        Defendant denies the allegations in Paragraph 102.
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                                      12       103.        Defendant denies the allegations in Paragraph 103.
                                      13       104.        Defendant denies the allegations in Paragraph 104.
                                      14       105.        Defendant denies the allegations in Paragraph 105.
                                      15       106.        Defendant lacks sufficient information to admit or deny the allegations of
                                      16            Paragraph 106 and denies on that basis.
                                      17       107.        Defendant lacks sufficient information to admit or deny the allegations of
                                      18            Paragraph 107 and denies on that basis.
                                      19       108.        Defendant lacks sufficient information to admit or deny the allegations of
                                      20            Paragraph 108 and denies on that basis.
                                      21       109.        The allegation in Paragraph 109 contains a legal conclusion to which no response is
                                      22            required. To the extent Paragraph 109 contains assertions of fact, Defendant lacks
                                      23            sufficient knowledge and denies the allegations on that basis.
                                      24                                     V.      CLASS ALLEGATIONS
                                      25       110.        Defendant denies that Plaintiff’s case is entitled to class treatment and denies that
                                      26            the class allegations in Paragraph 110 have any merit.
                                      27       111.        Defendant denies that Plaintiff’s case is entitled to class treatment and denies that
                                      28            the class allegations in Paragraph 111 have any merit.
                                                                                              9
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                                       1       112.        Defendant denies that Plaintiff’s case is entitled to class treatment and denies that
                                       2            the class allegations in Paragraph 112 have any merit.
                                       3       113.        Defendant denies that Plaintiff’s case is entitled to class treatment and denies that
                                       4            the class allegations in Paragraph 113 have any merit.
                                       5       114.        Defendant denies the allegations in Paragraph 114.
                                       6       115.        Defendant is without knowledge as to the allegations in Paragraph 115 of the
                                       7            Complaint and therefore denies the same.
                                       8       116.        Defendant denies the allegations in Paragraph 116.
                                       9       117.        Defendant denies that Plaintiff’s case is entitled to class treatment and denies that
                                      10            the class allegations in Paragraph 117 have any merit.
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                                      11       118.        Defendant denies that Plaintiff’s case is entitled to class treatment and denies that
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                                      12            the class allegations in Paragraph 118 have any merit.
                                      13       119.        Defendant denies that Plaintiff’s case is entitled to class treatment and denies that
                                      14            the class allegations in Paragraph 119 have any merit.
                                      15       120.        Defendant denies that Plaintiff’s case is entitled to class treatment and denies that
                                      16            the class allegations in Paragraph 120 have any merit.
                                      17       121.        Defendant denies that Plaintiff’s case is entitled to class treatment and denies that
                                      18            the class allegations in Paragraph 121 have any merit.
                                      19                                  VI.    FIRST CLAIM FOR RELIEF
                                      20       122.        Defendant denies the allegations in Paragraph 122.
                                      21       123.        Defendant denies the allegations in Paragraph 123.
                                      22       124.        Defendant denies the allegations in Paragraph 124.
                                      23       125.        Defendant denies the allegations in Paragraph 125.
                                      24
                                                                        VII.    SECOND CLAIM FOR RELIEF
                                      25
                                               126.        Defendant denies the allegations in Paragraph 126.
                                      26
                                               127.        Defendant denies the allegations in Paragraph 127.
                                      27
                                               128.        Defendant denies the allegations in Paragraph 128.
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                                       1                                     VIII. PRAYER FOR RELIEF
                                       2            Defendant denies the allegations contained in the unnumbered Paragraph beginning with
                                       3   “WHEREFORE,” including subparagraphs (A) - (I) thereof, and deny that Plaintiff is entitled to
                                       4   any relief whatsoever, either individually or on behalf of others.
                                       5                                      IX.      DEMAND FOR JURY
                                       6            Defendant denies that Plaintiff is entitled to a jury because this action should be dismissed
                                       7   summarily in its entirety with prejudice.
                                       8                                       AFFIRMATIVE DEFENSES
                                       9            Defendant, in the alternative, and without prejudice to the denials and other statements
                                      10   made in its Answer, states the following Affirmative Defenses. By setting forth these affirmative
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                                      11   defenses, Defendant does not assume the burden of proof as to any Complaint issue or other
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                                      12   element of any cause of action for which Plaintiff bears the burden of proof. Moreover, Defendant
                                      13   reserves the right to rely upon additional defenses to claims asserted by Plaintiff to the extent that
                                      14   such defenses are supported by information developed through discovery or evidence at trial.
                                      15                                   FIRST AFFIRMATIVE DEFENSE
                                      16                                         (Failure to State a Claim)
                                      17            The Complaint fails to state a claim upon which relief may be granted.
                                      18                                  SECOND AFFIRMATIVE DEFENSE
                                      19                                            (Lack of Standing)
                                      20            The Complaint and each purported claim contained therein are barred to the extent that
                                      21   Plaintiff or any member of the putative class lacks statutory and/or Article III standing.
                                      22                                   THIRD AFFIRMATIVE DEFENSE
                                      23                                         (Prior Express Consent)
                                      24            The Complaint and each purported claim contained therein are barred to the extent that
                                      25   Plaintiff or any member of the putative class provided prior express consent for the alleged calls.
                                      26            ////
                                      27            ////
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                                       1                                 FOURTH AFFIRMATIVE DEFENSE
                                       2                                          (No Automated Dialer)
                                       3            The Complaint and each purported claim contained therein are barred because Defendant
                                       4   did not employ an ATDS to initiate the alleged calls.
                                       5                                   FIFTH AFFIRMATIVE DEFENSE
                                       6                                                (No Agency)
                                       7            No other defendant in this action at any time acted, or purported to act, as an agent of
                                       8   Defendant SelectQuote in carrying out any actions alleged in the Complaint as a basis for liability.
                                       9                                   SIXTH AFFIRMATIVE DEFENSE
                                      10        (Waiver, Estoppel, Laches, Unclean Hands, Ratification, and Statute of Limitations)
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                                      11            The claims asserted in the Complaint are barred, in whole or in part, by the doctrines of
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                                      12   waiver, estoppel, laches, unclean hands, ratification, and/or applicable statutes of limitations.
                                      13                                 SEVENTH AFFIRMATIVE DEFENSE
                                      14                                   (Plaintiff’s Own Actions or Inaction)
                                      15            Plaintiff’s damages, and the damages of the putative class members, if any, have been
                                      16   caused by their own action or inaction, including, but not limited to, their provision of prior
                                      17   express consent to receive calls.
                                      18                                  EIGHTH AFFIRMATIVE DEFENSE
                                      19                             (Unconstitutional Vagueness and Overbreadth)
                                      20            Interpretations of the TCPA upon which Plaintiff’s Complaint is based are
                                      21   unconstitutionally vague and overbroad and thus violate the Due Process Clause of the Fifth
                                      22   Amendment to the United States Constitution, and the Due Process provisions of the Fourteenth
                                      23   Amendment to the United States Constitution.
                                      24                                   NINTH AFFIRMATIVE DEFENSE
                                      25                                  (Defenses Specific to Class Members)
                                      26            Defendant may have additional unique affirmative defenses applicable to different putative
                                      27   members of Plaintiff’s proposed class. Defendant reserves the right to assert such additional
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                                       1   affirmative defenses as the need arises, insofar as class certification has not been granted and is
                                       2   not appropriate in this case.
                                       3                                    TENTH AFFIRMATIVE DEFENSE
                                       4                                            (Excessive Penalties)
                                       5            The statutory penalties sought by Plaintiff and members of the putative class are excessive
                                       6   and thus violate the Due Process Clause of the Fifth Amendment to the United States Constitution,
                                       7   and the Due Process provision of the Fourteenth Amendment to the United States Constitution.
                                       8                                ELEVENTH AFFIRMATIVE DEFENSE
                                       9                                   (Reasonable Practices and Procedures)
                                      10            The Complaint and each purported claim contained therein are barred because Defendant
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                                      11   established and implemented, with due care, reasonable practices and procedures to prevent
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                                      12   telephone solicitations in violation of the TCPA. Additionally, a violation of the TCPA, if any,
                                      13   would have been in error and Defendant satisfies the requirements of 47 C.F.R. Section
                                      14   64.1200(c)(2)(i) and (d).
                                      15                                   TWELFTH AFFIRMATIVE DEFENSE
                                      16                                          (Improper Class Action)
                                      17            This action is not maintainable as a class action, and relief on a class-wide basis is not
                                      18   appropriate because Plaintiff cannot establish the facts and prerequisites necessary for the
                                      19   maintenance of a class action, including typicality, numerosity, commonality, ascertainability, or
                                      20   adequate representation.
                                      21                               THIRTEENTH AFFIRMATIVE DEFENSE
                                      22                           (Damages Not Measureable on a Class-wide Basis)
                                      23            Plaintiff’s alleged damages, if any, are incapable of proof on a class-wide basis.
                                      24                               FOURTEENTH AFFIRMATIVE DEFENSE
                                      25                                   (No Liability for Reassigned Numbers)
                                      26            In the event Defendant had consent to call a telephone number that was reassigned or
                                      27   assigned to a third party, Defendant is not liable under the TCPA.
                                      28
                                                                                              13
                                                            ANSWER TO FIRST AMENDED COMPLAINT: CASE NO. 3:19-CV-04902-LB
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                                       1                                    RESERVATION OF DEFENSES
                                       2            Defendant hereby reserves its right to assert such additional defenses as may become
                                       3   apparent during the course of discovery.
                                       4                                  DEFENDANT’S PRAYER FOR RELIEF
                                       5            WHEREFORE, Defendant respectfully requests that this Court dismiss Plaintiff’s First
                                       6   Amended Complaint with prejudice at Plaintiff’s cost, award Defendant its attorneys’ fees and
                                       7   costs, and grant such other relief as the Court deems appropriate under the circumstances.
                                       8

                                       9   Dated:        April 10, 2020                  Daniel T. Rockey
                                                                                         Thomas P. Kinzinger
                                      10                                                 BRYAN CAVE LEIGHTON PAISNER LLP
THREE EMBARCADERO CENTER, 7TH FLOOR




                                      11
  BRYAN CAVE LEIGHTON PAISNER LLP

   SAN FRANCISCO, CA 94111-4070




                                      12                                                 By: /s/ Daniel Rockey
                                                                                                 Daniel T. Rockey
                                      13                                                 Attorneys for Defendant
                                                                                         SELECTQUOTE INSURANCE SERVICES
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                                                               ANSWER TO FIRST AMENDED COMPLAINT: CASE NO. 3:19-CV-04902-LB
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